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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

JoAnn Clay,                                         Case No.:

         Plaintiff,
                                                       COMPLAINT FOR DAMAGES
v.                                                  UNDER THE FAIR DEBT COLLECTION
                                                       PRACTICES ACT AND OTHER
Enhanced Recovery Corporation,                             EQUITABLE RELIEF

         Defendant.
                                                     JURY DEMAND ENDORSED HEREIN

                                                PARTIES

1. Plaintiff is a natural person who resided in Chicago, Illinois at all times relevant to this

     action.

2. Defendant is a Delaware Corporation that maintained its principal place of business in

     Jacksonville, FL at all times relevant to this action.

                                   JURISDICTION AND VENUE

3.   Pursuant to 28 U.S.C. §1331, this Court has federal question jurisdiction over this matter as it

     arises under the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. §1692 et seq.

4.   Pursuant to 28 U.S.C. §1391(b), venue is proper because a substantial part of the events

     giving rise to this claim occurred in this judicial district.

                                        STATEMENT OF FACTS

5. At all times relevant to this action, Defendant engaged in the business of consumer debt

     collection.

6. Defendant regularly uses the telephone and mail to collect consumer debts that Defendant

     either purchased or had been hired to collect.




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7. The principal source of Defendant’s revenue is debt collection.

8. Defendant is a "debt collector” as defined by 15 U.S.C. §1692a(6).

9. As described below, Defendant contacted Plaintiff about an obligation allegedly owed to

   Sprint, which had been incurred for personal rather than commercial purposes sometime

   prior to July 2009.

10. This obligation is a “debt” as defined by 15 U.S.C. §1692a(5).

11. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3) because Defendant has alleged

   that Plaintiff owes the debt.

12. On or around July 10, 2009, Plaintiff filed a voluntary petition for a Chapter 7 bankruptcy.

13. Sometime in late July 2009, Defendant received notice from the bankruptcy court that

   Plaintiff had filed bankruptcy and had listed the Sprint debt in Schedule F of her bankruptcy

   petition.

14. On or around October 21, 2009, Plaintiff’s debts were discharged in bankruptcy.

15. Some time in October 2009, Defendant received notice from the bankruptcy court of

   Plaintiff’s discharge.

16. Despite knowledge of Plaintiff’s bankruptcy and discharge, Defendant attempted to collect

   the Sprint debt from Plaintiff by placing telephone calls to Plaintiff and sending letters to

   Plaintiff between May 2010 and September 2010.

17. During several of these telephone calls, Plaintiff provided further notice of her bankruptcy

   filing, but Defendant ignored Plaintiff’s notices and continued its attempts to collect the debt.

18. Defendant caused Plaintiff emotional distress.

19. Defendant violated the FDCPA.




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                                            COUNT ONE

                        Violation of the Fair Debt Collection Practices Act

20. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

21. Defendant violated 15 U.S.C. §1692d by engaging in conduct the natural consequence of

    which was to harass, oppress, or abuse Plaintiff in connection with the collection of the debt.

                                           COUNT TWO

                        Violation of the Fair Debt Collection Practices Act

22. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

23. Defendant violated 15 U.S.C. §1692e by using false, deceptive, or misleading means to

    collect the debt.

                                          COUNT THREE

                        Violation of the Fair Debt Collection Practices Act

24. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

25. Defendant violated 15 U.S.C. §1692f by using unfair or unconscionable means to collect the

    debt.

                                          JURY DEMAND

26. Plaintiff demands a trial by jury.

                                      PRAYER FOR RELIEF

27. Plaintiff prays for the following relief:

            a. Judgment against Defendant for actual damages, statutory damages, and costs and

                reasonable attorney’s fees pursuant to 15 U.S.C. §1692k.

            b. For such other legal and/or equitable relief as the Court deems appropriate.




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                                RESPECTFULLY SUBMITTED,

                                Legal Helpers, P.C.

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